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                                                                                             CLERK'
                                                                                                  S OFFICE U.s.Djs'c cour
                                                                                                   ATABINGDON, vA
                                                                                                            FILED
AO 91(Rev.11/11) CriminalComplaint                                                                                    .

                                 U NITED STATES D ISTRICT COURT                                   Juu         L ,cL K
                                                         forthe                                 BY;            CL
                                        W estern DistrictofVirginia

               United StatesofA m erica
                            V.
                DAVID L.HUGGARD
             837 PodsmopthAve.,Apt.A6
                                                                  CaseNo.l.!ymj
                                                                              .q
                   Bri
                     stol!Virgini
                                a

                       Defendantls)

                                           CR IM G AL CO M PLA INT
        1,thecom plainantin thiscase,statethatthefollow ing istnzetothebestofm y know ledgeand belief.
On oraboutthedatets)of                Decem6er,2012         inthecountyof                     Smyth                 inthe
    Western     Districtof             Virginia     ,thedefendantts)violated:
           CodeSection                                                OffenseDescri
                                                                                  ption
18 USC 2423                               Transportation/travelw ithintentto engage incrim inalsexualacti
                                                                                                        vitywith
18 USC 2241(c)                            m inor,Aggravated sexualabuse w i  th children,
18USC 2251(a)                             Sexualexploitati onofchildren




        Thiscrim inalcomplaintisbasedon thesefacts:
See Attached Affidavit,




        O Continued on theattached sheet.


                                                                                   Complainant'ssignature

                                                                          Thomas R.Snapp.SpecialAgent,FBl
                                                                                    Printed nameand title

Swom tobeforem eand signed in m y presence.

Date:          01/25/2013
                                                                                      Judge'ssignature

City and state.
              .                  Abingdon,Virgini
                                                a                      Pamela Meade Sargent,US M agistrate Judge
                                                                                    Printed nameand title
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                  IN TH E U N ITED STA TES D ISTRICT CO URT FOR THE

                               W ESTERN DISTRICT OF VIR GIN IA



IN THE M A TTER O F A N                                                  l
A N A RREST W A RR AN T FOR :                                                  *

                                                    CriminalNo. 1 * 4
D A V ID L.H U G GA O
DOB 03/26/1965
837 Portsm ith A ve,A pt.A 6
Bristol,V irginia




        AFFIDAVJT IN SUPPORT OF APPLICATION FOR A ARREST W ARM NT
       1,Thom asR.Snapp,being duly sworn,depose and stateasfollows:

              l am a Special A gent of the Federal Bureau of lnvestigation, assigned to the

Richm ond D ivision,BristolR esidentA gency. I have been a SpecialA gent for approxim ately

tw enty-three years. M y investigative experience includes the investigation of violent crim es,

including violations of crim inalsexualactivity with children,sexualexploitation of children,

aggravated sexualabuse w ith children,and on-line exploitation ofchildren.

       2      Asa federalagent,lam authorized to investigate violationsofUnited Stateslaws

and to executewarrantsissued tmdertheauthority ofthe United States.

              The statem ents in this aftidavit are based in part on m y investigation of this

m atter,inform ation related to m e by other law enforcem ent officers,and the expertise of other

law enforcement oftk ers also fam iliar with child sex investigations and cases. This affidavit

does not setforth every factresulting from the investigation;rather,it sets forth facts sufficient

to establish probable cause in supportofan arrestw arrantforD avid L.H uggard forviolationsof


                                                1
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Title 18,United States Code,Section 2423(*,Transportation W ith The IntentTo Engage ln
CriminalSexualActivity,Title 18,United StatesCode,Section 2423(19,TravelW ith lntentTo
Engage ln lllicitSexualConduct,Title 18,United States Code Section 2241(c),Aggravated
Sexual Abuse W ith Children, and Title 18,United States Code, Section 2251(a), Sexual
Exploitatiop O fChildren.


                                  STATUTORY AU THO W TY

       4.     This investigation concerns alleged violations of Title 18, U nited States Code,

Section 2423($,Transportation W ith TheIntentTo Engageln CriminalSexualActivity,Title
18,United States Code, Section 2423419, Travel W ith lntent To Engage In Illicit Sexual
Conduct, Title 18, United States Code Section 2241(c), Aggravated Sexual Abuse W ith

Children,andTitle18,United StatesCode,Section2251(a),SexualExploitationOfChildren
       5.     Under18U.S.C. j 2423($,itisa federalcrimeforanypersonwho knowingly
transport an individual who has not attained the age of 18 years in interstate or foreign

comm erce,orin any com monwealth,territory orpossession oftheUnited States,with intentthat

the individual engage in prostitution, or in any sexual activity for which any person can be

charged with acrim inaloffense.

       6.     Under 18 U.S.C.j 2423(b),itisa federalcrime forany person who travelsin
interstatecom merceforthepurpose ofengaging in any illicitsexualconductwith aperson.

       7.     Underl8U.S.C.j2241(c),itisafederalcrimeforany personwhoevercrossesa
State linewith intentto engage in a sexualactwith aperson who hasnotattained the age of12

years,to knowingly engage in a sexualactwith anotherperson who hasnotattained the age of

12 years,orattem ptsto do so.

      8.under 18 U.S.C.j 2251(a),itisa federalcrime forany person who employs,uses,
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persuades,induces,entices,orcoercesany minorto engage in any sexually explicitconductfor

thepurpose ofproducing any visualdepiction ofsuch conductorforthepurpose oftransmitting

a live visualdepiction ofsuch conduct,shallbe punished asprovided undersubsection (e),if
such person knows or has reason to know that such visual depiction willbe transported or

transm itted using any means or facility of interstate or foreign com merce or in or affecting

interstate or foreign com m erce or m ailed,if that visual depiction was produced or transm itted

using m aterialsthathave been m ailed,shipped,ortransported in or affecting interstate orforeign

com merce by any m eans,including by computer,orif such visualdepiction hasactually been

transported ortransm itted using any m eansorfacility ofinterstate orforeign comm erceorin or

affecting interstate or foreign com m erce orm ailed.

                      BACKGROUND OF CURRENT W VESTIGATION

               OnJanuary 14,2012,LindaW arren(COM PLAINANT)metwithBristolVirginia
police Detective A ngela Sim pson. CO M PLA INA N T reported the alleged sexual abuse of her

four year o1d greatniece,hereinafter referred to as V ICTIM . COM PLA INA N T has custody of

the VICTIM . The COM PLAINAN T reported the VICTIM disclosed sexual contact between

VICTIM and her lspapam '' identified as David L. Huggard (DEFENDANT). The
D EFEN D AN T, further described as the V ICTIM 'S grandfather and the COM PLA IN AN T 'S

brother,has visitation rights with the V ICTIM . The D EFEN D AN T is an over-the-road truck

driverand traveled with theVICTIM during severalweeksofhisvisitation.

       10.     ln or aboutD ecem ber,2011,COM PLA W AN T m oved f'
                                                                 rom the Bristol,V irginia

area to W isconsin. TheVICTIM stayed with the DEFENDANT forapproximately two months

beforejoiningtheCOM PLAINANT in W isconsin.
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       1l.    According to the COM PLAINANT, on or about December 12, 2012, the

D EFEN DA N T tzaveled in his sem i-tractorto W isconsin to pick-up the V ICTIM fora visit. The

D EFEN DA N T thereaftertraveled w ith the V ICTIM in his custody to unknow n locations forthe

purposes of his employment. COM PLAINAN T reported that the DEFENDANT and the

VICTIM ultim ately traveled to the DEFENDANT'S home in Bristol, Virginia, where they

arrived on or about Decem ber 24,2012. The D EFEN DAN T resides at 837 Portsm ith Avenue,

apartm entA-6,Bristol,V irginia.

              In late Decem ber2012,or early January 2013,during a telephone conversation,

the VICTIM informed COM PLAINTANT that the VICTIM was sexually assaulted by the

DEFEN D AN T.

              On or about January 5,2013,the C OM PLA IN AN T traveled from W isconsin to

Bristol,Virginia,and attemptedto locatetheVICTIM and DEFENDANT.On January 12,2013,

CO M PLA INA N T located the V ICTIM and DEFEN D AN T at the hom e of D EFEN DA N T'S

girlfriend in Bristol,Tennessee. COM PLAINAN T regained physicalcustody of the VICTIM

and retrieved two sets of clothes belonging to the VICTIM . DEFEN DANT informed

COM PLAINAN T thathe was unable to wash the VICTIM 'S rem aining clothes and that they

were located in hispersonalvehicle,a2002 grey Dodge Durango.

       14.    On or about January 13, 2013, the DEFENDANT left the Bristol

Virginia/Tennessee area foran extended over-the-roadtrip relatedto hisem ploym ent.

       15.    O n January 17 and January 22,2013,the V ICTIM w as interview ed at the Child

Advocacy Centerin Bristol,Virginia.During the interview,the VICTIM disclosed thatshe was

sexually abused by the D EFEN DA N T,while they w ere traveling to unknow n locations in the

D EFEN DAN T'S sem i-tractor. The V ICTIM disclosed that the DEFEN D AN T puthis finger in


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her butt. W hile describing the body parts on a hum an drawing, the victim identified the

D EFEN DA N T'S penis as hisçspoker.'' The VICTIM disclosed thatthe DEFEN D AN T instructed

V ICTIM to puther m outh on the D EFEN DA N T'S poker and thatthe DEFEN D AN T peed in the

VICTIM 'S mouth. The VICTIM also disclosed thatthe DEFENDANT was watching a m ovie

w hile the sexual abuse w as ongoing and that the D EFEN DA N T took pictures of the VICTIM .

Atthe tim e ofthe interview,the VICTIM wasunable orunwilling to describe the movie,orthe

contentofthe m ovie.

              0n January 24,2013,David Thom as,the owner of J&D Express Trucking,in

M arion, V irginia, confirm ed that the DEFEN D AN T is em ployed as a truck driver for JJLII

Express Tnzcking. Thom as owns five tractors and has five drivers. The DEFENDANT drives

J& D Express Trucking truck ntzm ber 4. Thomas described the vehicle as a 1998 Peterbilt

Tractor,m aroon/lavender in colorwith blue fenders,GSJ&D Express Trucking''written on both

sidesofthe sleeper,Departm entofTransportation number948215,vehicleidentification number

of 1X 1751789X 6W N454883, and bearing V irginia license plate 7738313Y . Thom as further

disclosed thatthevehicle hasaTV and aDVD playerin the sleeper.

       17.    The DEFENDANT typically hauls products from Royal M olding in M arion,

V irginian and/or products from K olckner in RuralRetreatto locations in the W ashington State,

Texas, Oregon, and U tah. The D EFEN DA N T typically stays near his destination for

approxim ately 36 holzrs,beforehauling produceback to Philadelphia orM aryland and returnsto

W estem DistrictofVirginia. The DEFENDANT istypically on the road forapproximately 10

days and then has three or four days off at hom e. The DEFEN D AN T leaves the vehicle in the

parking 1otatJ& D ExpressTrucking w hen he ison hisdaysoff.




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         18.   The DEFENDANT started another trip to F ashington State on or about

Novem ber30,2012 and returned on oraboutDecember l1,2012. The DEFENDANT started

anothertrip to W ashington on oraboutDecem ber 14,2012 and returned on oraboutDecem ber

24,2012. The DEFEN DAN T started anothertrip to E1Paso,Texas on or aboutD ecem ber 31,

2012 and retum ed on oraboutJanuary 7,2013. The DEFENDANT started hiscurrenttrip to the

state ofW ashington on oraboutJanuary 15,2013 and isexpected to retttrn on oraboutJanuary

27,2013.

         19.   Thom as confinned thatthe DEFEN DAN T drove the vehicle on each ofthe above

trips.



                                         CO N CLU SION



         20.   Forthereasonssetforth above,1respectfully requestthisCourtto issue awarrant

for the arrest of David L.Huggard for violations of Title 18,United States Code,Section

24234a),TransportationW ithThelntentToEngagelnCriminalSexualActivity,Title18,United
StatesCode,Section 2423(b),TravelW ithlntentTo Engageln lllicitSexualConduct,Title 18,
United StatesCode Section 2241(c),Aggravated SexualAbuse W ith Children,and Title 18,
UnitedStatesCode,Section2251(a),SexualExploitation OfChildren.


                                             R espectfully Subm itted,

                                                y            c gy.p
                                             Thom asR .Snapp

                                             SpecialA gent


                                            6
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                                        FederalBureau ofInvestigation



Subscribed and sw orn before

m e this      ay ofJanuary 2013




The H onorable Pam ela M eade Sargent

United StatesM agistrate Judge
